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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SHONTAA RANDOLPH                                 )
                                                  )
       Plaintiff,                                 )     Case No.:
                                                  )
                v.                                )     COMPLAINT FOR VIOLATION OF
                                                  )     CIVIL RIGHTS
 City of Chicago, and Chicago Police              )
 Officers Timothy Loring, Star No. 4769,          )
 D. Meeks, Star No. 16730, Sylwia                 )     JURY DEMANDED
 Rejman, Star No. 4502, Erik Haney, Star          )
 No. 3591, Ryan McCarthy, Star No. 6750,          )
 David Taylor, Star No. 18525,                    )
                                                  )
       Defendants.                                )

                                  JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343 and 1331 and 1367.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                             PARTIES

        3.      At all times herein mentioned, Plaintiff Shontaa Randolph (“Randolph”) was within

the jurisdiction of this court.

        4.      At all times herein mentioned, Chicago Police Officer Timothy Loring, Star No.

4769 (“Loring”) was employed by the Chicago Police Department and was acting under color of

state law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in his individual capacity.
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       5.      At all times herein mentioned, Chicago Police Officer D. Meeks, Star No. 16730

(“Meeks”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in his individual capacity.

       6.      At all times herein mentioned, Chicago Police Officer Sylwia Rejman, Star No.

4502 (“Rejman”) was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent, or representative of the Chicago Police Department.

This Defendant is being sued in his individual capacity.

       7.      At all times herein mentioned, Chicago Police Officer Erik Haney, Star No. 3591

(“Haney”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in his individual capacity.

       8.      At all times herein mentioned, Chicago Police Officer Ryan McCarthy, Star No.

6750 (“McCarthy”) was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in his individual capacity.

       9.      At all times herein mentioned, Chicago Police Officer David Taylor, Star No.

18525 (“Taylor”) was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent, or representative of the Chicago Police Department.

This Defendant is being sued in his individual capacity.

       10.     At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the Chicago Police Department.




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                                    FACTUAL ALLEGATIONS

        11.     On or about March 10, 2018, Plaintiff was lawfully located near 4029 W. Congress

Parkway in the City of Chicago, County of Cook, State of Illinois.

        12.     On that day and place Defendants did not possess a warrant to arrest Plaintiff.

        13.     On that day and place Defendants caused Plaintiff to be seized.

        14.     Defendants did not possess legal cause to seize Plaintiff.

        15.     After his seizure Plaintiff was subjected to a custodial arrest.

        16.     Defendants did not possess legal cause to subject Plaintiff to custodial arrest.

        17.     After his custodial arrest Defendants caused Plaintiff to be charged with eight

felonies.

        18.     Defendants did not possess any information that Plaintiff had committed any crimes.

        19.     Plaintiff appeared in court to defend himself against the felony charges that were

initiated and/or continued by Defendants.

        20.     On or about March 25, 2019, six of the felony charges against Plaintiff were

voluntarily dismissed via a “nolle pros” by the Cook County State’s Attorney.

        21.     On or about March 28, 2019, Plaintiff was found not guilty of the remaining

charges.

        22.     By reason of the above-described acts and omissions of Defendants, Plaintiff

sustained injuries, including but not limited to, humiliation and indignities, and suffered great

mental and emotional pain and suffering all to his damage in an amount to be ascertained.

        23.     The aforementioned acts of Defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiff’s rights and justify the




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awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

        24.      By reason of the above-described acts and omissions of Defendants Plaintiff was

required to retain an attorney to institute, prosecute and render legal assistance to him in the within

action so that he might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff

requests payment by Defendants of a reasonable sum for attorney’s fees pursuant to 42 U.S.C.

Section 1988, the Equal Access to Justice Act or any other provision set by law.

                                        COUNT I
  Plaintiff against Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks for
                               UNREASONABLE SEIZURE

        25.      Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-

four (24) hereat as though fully set forth at this place.

        26.      By reason of Defendants’ conduct, Plaintiff was deprived of rights, privileges and

immunities secured to him by the Fourth and/or Fourteenth Amendments of the Constitution of

the United States and laws enacted thereunder.

        27.      The arbitrary intrusion by Defendants, into the security and privacy of Plaintiff’s

person was in violation of Plaintiff’s constitutional rights and not authorized by law. Defendants

violated Plaintiff’s rights in the following manner: (1) the seizure of Plaintiff’s person was not

supported by any legal cause. These acts were in violation of Plaintiff’s Fourth and/or Fourteenth

Amendment rights. Therefore, Defendants, are liable to Plaintiff pursuant to 42 U.S.C. § 1983.




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                                        COUNT II
  Plaintiff against Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks for
                       UNREASONABLE PRETRIAL DETENTION


        28.     Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-

four (24) hereat as though fully set forth at this place.

        29.     Defendants subjected Plaintiff to criminal prosecution, a pretrial detention, and/or

deprivation of his liberty without probable cause.

        30.     Defendants did not have probable cause to believe Plaintiff had committed an

offense or cause him to be subjected to any pretrial restriction of his liberty.

        31.     Defendants knew that Plaintiff’s arrest, detention, and criminal prosecution were

based solely upon Defendants’ false allegations that Plaintiff had committed a crime.

        32.     The criminal charges Defendants initiated against Plaintiff terminated in Plaintiff’s

favor when several were voluntarily dismissed, and he was found not guilty of the remaining

charges on March 28, 2019.

        33.     As a result of the foregoing, Plaintiff has sustained damage.

        34.     By reason of Defendants’ conduct, Plaintiff was deprived of rights, privileges and

immunities secured to him by the Fourth Amendment of the Constitution of the United States

and laws enacted thereunder.

        35.     The arbitrary intrusion by Defendants, into the security and privacy of Plaintiff’s

person was in violation of Plaintiff’s constitutional rights and not authorized by law. Defendants

violated Plaintiff’s rights in the following manner: (1) Causing Plaintiff to be subjected to

pretrial detention that restrained his liberty, without any probable cause for the detention, was in

violation of Plaintiff’s Fourth Amendment rights. Therefore, Defendants are liable to Plaintiff

pursuant to 42 U.S.C. § 1983.



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                                        COUNT III
 Plaintiffs Against Defendants Loring, Rejman, Haney, McCarthy, Taylor, Meeks, and the
                                   City of Chicago For
                              MALICIOUS PROSECUTION

       36.       Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-

four (24) hereat as though fully alleged at this place.

       37.       Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks, who were

employed by the City of Chicago maliciously commenced and/or caused to be continued legal

proceedings against Plaintiff alleging that he had committed one or more crimes.

       38.       Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks initiated,

facilitated, and/or continued this malicious prosecution by authoring false police reports, and/or

preparing and/or signing a false complaint for the purpose of causing the initiation or

continuation of legal proceedings against Plaintiff.

       39.       On or about March 25 and March 28, 2019, the legal proceedings terminated in

Plaintiff’s favor when most charges against him were voluntarily dismissed and he was found not

guilty of the remaining charges.

       40.       As a result of Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks

initiating and/or continuing these baseless legal proceedings Plaintiff was injured emotionally

and otherwise.

       41.       The City of Chicago is liable to Plaintiff for the acts of Defendants Loring,

Rejman, Haney, McCarthy, Taylor, and Meeks pursuant to the doctrine of respondeat superior.

       42.       Therefore, Defendants Loring, Rejman, Haney, McCarthy, Taylor, Meeks and the

City of Chicago are liable under the supplemental state law claim of Malicious Prosecution.




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       WHEREFORE, the Plaintiff, by and through his attorneys, ED FOX & ASSOCIATES, Ltd.

requests judgment as follows against the Defendants, and each of them:

       1.      That the Defendants be required to pay Plaintiff’s general damages, including
               emotional distress, in a sum to be ascertained;

       2.      That the Defendants be required to pay Plaintiff’s special damages;

       3.      That the Defendants be required to pay Plaintiff’s attorney’s fees pursuant to Section
               1988 of Title 42 of the United States Code, the Equal Access to Justice Act or any
               other applicable provision;

       4.      That Defendants Loring, Rejman, Haney, McCarthy, Taylor, and Meeks be required
               to pay punitive and exemplary damages in a sum to be ascertained;


       5.      That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred; and

       6.      That Plaintiffs have such other and further relief as this Court may deem just and
               proper.

                                               BY:     s/Garrett Browne

                                                       ED FOX & ASSOCIATES, Ltd.
                                                       Attorneys for Plaintiff
                                                       300 West Adams
                                                       Suite 330
                                                       Chicago, Illinois 60606
                                                       (312) 345-8877
                                                       gbrowne@efoxlaw.com


                   PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                               BY:     s/Garrett Browne

                                                       ED FOX & ASSOCIATES, Ltd.
                                                       Attorneys for Plaintiff
                                                       300 West Adams
                                                       Suite 330
                                                       Chicago, Illinois 60606
                                                       (312) 345-8877
                                                       gbrowne@efoxlaw.com




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